USCA4 Appeal: 23-1497      Doc: 37        Filed: 08/26/2024   Pg: 1 of 3




                                            UNPUBLISHED

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT


                                              No. 23-1497


        JUSTIN E. FAIRFAX,

                            Plaintiff - Appellant,

                     v.

        NEW YORK PUBLIC RADIO,

                            Defendant - Appellee,

                     and

        WNYC,

                            Defendant.



        Appeal from the United States District Court for the Eastern District of Virginia, at
        Alexandria. Anthony John Trenga, Senior District Judge. (1:22-cv-00895-AJT-IDD)


        Submitted: June 27, 2024                                    Decided: August 26, 2024


        Before QUATTLEBAUM and RUSHING, Circuit Judges, and KEENAN, Senior Circuit
        Judge.


        Affirmed by unpublished per curiam opinion.
USCA4 Appeal: 23-1497      Doc: 37         Filed: 08/26/2024    Pg: 2 of 3




        Justin E. Fairfax, Appellant Pro Se. Andrew M. Levine, New York, New York, Jonathan
        R. Tuttle, DEBEVOISE &amp; PLIMPTON LLP, Washington, D.C., for Appellees.


        Unpublished opinions are not binding precedent in this circuit.




                                                    2
USCA4 Appeal: 23-1497      Doc: 37         Filed: 08/26/2024     Pg: 3 of 3




        PER CURIAM:

               Justin E. Fairfax appeals the district court’s order granting New York Public Radio’s

        motions to dismiss Fairfax’s state law claims for defamation and intentional infliction of

        emotional distress and for attorneys’ fees and costs under Virginia’s anti-SLAPP statute,

        Va. Code Ann. § 8.01-223.2. We have reviewed the record and find no reversible error.

        Accordingly, we affirm the district court’s order. Fairfax v. N.Y. Pub. Radio, No. 1:22-cv-

        00895-AJT-IDD (E.D. Va. Apr. 4, 2023). We dispense with oral argument because the

        facts and legal contentions are adequately presented in the materials before this court and

        argument would not aid the decisional process.

                                                                                       AFFIRMED




                                                     3
